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4                               UNITED STATES DISTRICT COURT

5                               EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                         No. 2:15-cr-236-GEB
8                      Plaintiff,
9           v.                                         RESPONSE TO REQUESTS FOR IN
                                                       LIMINE RULINGS
10   NELLI KESOYAN,
11                     Defendant.
12

13                 Defendant Nelli Kesoyan filed what she categorizes as

14   motions      in     limine,    seeking        the     following:      (1)    to        exclude

15   statements        Defendant    made     to    law     enforcement      officers        during

16   interrogations,        ECF    No.     118;    (2)     to   exclude    statements         of    a

17   specific witness if said witness is unavailable to testify at

18   trial, ECF No. 119; and (3) to exclude all evidence relating to

19   Defendant’s termination from her place of employment, ECF No.

20   120.        The   United     States    of     America      filed    the    following         six

21   motions in limine: (1) to exclude evidence relating to an alibi

22   defense,      ECF    No.    123;    (2)      to    exclude    evidence      of     a   duress

23   defense, ECF No. 124; (3) to exclude prior statements made by

24   Defendant,        unless     Defendant       testifies,       ECF    No.    125;       (4)    to

25   exclude evidence and argument related to a jury nullification

26   defense, ECF No. 126; (5) to preclude admission of reciprocal

27   discovery not produced by the defense, ECF No. 127; and (6) to

28   preclude      use    of,     reference        to,    and     eliciting      testimony         of
                                                   1
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 1   improper impeachment evidence during questioning of a specific

 2   witness, ECF No. 128.

 3                  The referenced motions, except for Defendant’s motion

 4   to exclude her statements made to law enforcement officers (ECF

 5   No. 118), are denied since the motions do not present concrete

 6   enough controversies to warrant in limine rulings.                Defendant’s

 7   motion    to    exclude   her   statements   to   law   enforcement   officers

 8   during interrogations is an untimely suppression motion that was

 9   not filed before expiration of the prescribed deadline issued

10   under Federal Rule of Criminal Procedure 12, and is therefore is

11   denied.

12   Dated:    January 11, 2018

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